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                            EXHIBIT 44




                                     Exhibit 44
                                       6180
                                               AR24G1
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                                                                                                      SFUND RECORDS CTR

                                                      McCOLL                                                1654-92969


                                                                                                             SFUND RECORDS CTR
                                                    SUPERFUND SITE                                              88108997
                     United States Environmental Protection Agency, Region IX, San Francisco
Fullerton, California                                                                                                April 1991

                        McCOLL RECORD OF DECISION DELAYED
     The United States Environmental Protection Agency
(EPA) has announced a revised cleanup schedule for the                  PUBLIC MEETING SET MAY 13
McColl Superfund Site in Fullerton, CA. EPA had planned
to sign a Record of Decision (ROD) in March 1991, selecting                 representatives wilt conduct a public presenta-
thermal destruction as the cleanup alternative. However,           tion explaining the reasons for the ROD delay and new
EPA has determined the interested parties should have the          cleanup time schedule for the McCoH superfund site on
opportunity to review and comment on the documents EPA             Monday, May 13,1991 at 7:30 p.m. In the Parks Junior High
will rely upon to make its decision, including new in-             School Music Room, 1710 Roseerans Ave., Fullerton.
 formation developed during treatability studies and from
    recent trial excavation. EPA will reevaluate and update            6) Implementability
the analyses of the alternatives considered for site remedia-          7) Cost
tion identified in the 1989 Proposed Plan. Interested parties          8) State Acceptance
then will be given the opportunity to review and comment               9) Community Acceptance
on this reevaluation of the alternatives.
                                                                       EPA will also perform an analysis to further define the
    Although EPA's reevaluation of the alternatives could         thermal destruction alternative. During the analysis, EPA
potentially lead to a new preferred alternative, to date, EPA     will determine the appropriate type of thermal destruction
has not identified a cleanup alternative superior to thermal      and the optimum location (whether it will occur on-site or
destruction. While conducting the reevaluation, EPA will          off-site). While reevaluating the existing alternatives, EPA
review and update the following portions of the existing          plans to evaluate a technology recently introduced to the
Supplemental Reevaluation of Alternatives (SROA): Risk            Agency by the oil company Potentially Responsible Parties
Assessment, federal and state Applicable or Relevant and          (PRPs). The technology involves selective excavation and
Appropriate Requirements (ARARS), and Cost Analysis. In           treatment of the waste material followed by RCRA contain-
addition, EPA will conduct a Nine Criteria Analysis. EPA          ment. If EPA determines the proposal, as is or modified, is
bases its remedy selection on the nine criteria used to           a viable option and should be included as one of the alterna-
  •aluate remedial action alternatives. This approach is a        tives, EPA will evaluate this option at the same time as the
legal requirement designed to provide decision makers             other options, using the Nine Criteria.
with sufficient information to adequately compare the alter-
natives and select an appropriate remedy for the site. The            Once the analyses are complete, EPA will issue a new
nine criteria are:                                                Proposed Plan. The public will then have an opportunity to
                                                                  comment on the Plan and all information supporting the
    1)  Protection of Human Health and the Environment            preferred cleanup alternative. This information is called the
    2)  Compliance with ARARS                                     "Administrative Record" and will be available in the Fuller-
    3)  Long-Term Effectiveness and Permanence                    ton Public Library for public review.
    4)  Reduction of Toxicity, Mobility and Volume Through
        Treatment                                                 The new cleanup schedule for the McColl Superfund
    5) Short-Term Effectiveness                               Site follows:
       SROA ll/                                     Public Comment          Responsive
       9 Criteria            Proposed Plan               Period              Summary                  ROD

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On-going
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                        8/7/92                 11/13/92                   2/2/93
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     One significant d if ference between the above schedule and the schedule EPA made public earlier is the effect of possible
litigation on the cleanup process. The earlier schedule reflected EPA's belief that lengthy litigation against the PRPs might
be necessary prior to cleanup action. Should the upcoming negotiations with the PRPs be unsuccessful, EPA now intends
to proceed with a fund financed cleanup of the McColl site to avoid delays in the cleanup related to litigation.
                                                          Exhibit 44
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                                          FOR MORE INFORMATION

    If you would like to know more about Superfund activities at the McColl Site please contact:

                       Fraser Felter                                           Media Contact:
            Community Relations Coordinator                                     Terry Wilson
          U.S. Environmental Protection Agency                      U.S. Environmental Protection Agency
                75 Hawthorne Street (H-l-1)                                  75 Hawthorne Street
                 San Francisco, CA 94105                                  San Francisco, CA 94105
                      (415) 744-2181                                            415/744-1578
          or leave a message on EPA's TOLL-FREE message line (800) 231-3075 and your call will be returned.




United States                                                  75 Hawthorne Street (H-1-1)
Environmental Protection Agency                                San Francisco, CA 94105
EPA Region 9                                                   Attn: Fraser Felter


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 Don't dump, Recycle!                                 New McColl Cleanup Schedule
                                                      Exhibit 44
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